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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                NO. 4:11CR00156-22-JLH

RHANDA RACHAEL RAMEY                                                               DEFENDANT

                                            ORDER

       Pending is defendant’s Motion for Two Point Reduction based on Sentencing Guideline

Amendment 782.

       At sentencing, the Court determined that defendant had a total offense level of 25, criminal

history category V, and a guideline range of 100-125 months. She was sentenced to 84 months in

prison based on a variance by the Court. On May 14, 2014, defendant’s sentence was reduced by

30% to 58 months. Document #718.

       Under Amendment 782, defendant has a total offense level of 23 and a guideline range of

84-105 months. Because the variance may not be considered here, defendant is entitled to only a

30% reduction below the low-end of the new range.1 However, defendant’s original sentence was

the same as the low-end of the new range, so she does not benefit from Amendment 782.

Accordingly, defendant’s Motion for Two Point Reduction is DENIED. Document #789.

       IT IS SO ORDERED this 3rd day of December, 2015.


                                                    __________________________________
                                                    UNITED STATES DISTRICT JUDGE




       1
           U.S. SENTENCING GUIDELINES MANUAL § 1B1.10(b)(2) (2015).
